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 Dated: March 29, 2012
 The following is SO ORDERED:


                                                     ________________________________________
                                                               George W. Emerson, Jr.
                                                        UNITED STATES BANKRUPTCY JUDGE


 ____________________________________________________________




                    THE UNITED STATES BANKRUPTCY COURT
                        WESTERN DISTRICT OF TENNESSEE
_________________________________________________________________________________

In re

MICHAEL W. SMITH,                                           Case No. 12-20847-E

        Debtor.                                             Chapter 13


_________________________________________________________________________________

          ORDER ON “MOTION TO ALTER/AMEND AND/OR MOTION FOR
                           RELIEF FROM JUDGMENT”
_________________________________________________________________________________

        These matters are before the Court on the motion of Debtor Michael W. Smith requesting that

the Court “rescind its Order dismissing Debtor’s bankruptcy petition for failing to satisfy the filing

requirements in a timely manner.” This proceeding arises in a case referred to this Court by the

Standing Order of Reference, Misc. Order No. 84-30 in the United States District Court for the Western

District of Tennessee, Western and Eastern Divisions, and is a core proceeding pursuant to 28 U.S.C.

§ 157(b)(2)(A).

        The Debtor, Michael W. Smith, filed this incomplete Chapter 13 voluntary petition on January

26, 2012. On January 28, 2012, the Bankruptcy Court Clerk issued its Notice of Required Filing Fee
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and/or Deficient Filing indicating that, among other items, the Debtor had until February 2, 2012 to file

his matrix and had fourteen (14) days to file his Summary of Schedules, Schedule C, Schedule I,

Schedule J, Verification of Pre-petition Budget and Credit Counseling, Statement of Current Monthly

Income, Chapter 13 Plan and Page 2 of his Summary of Schedules.

       On January 31, 2012, the Debtor attempted to file a Motion for Exemption from Credit

Counseling but the motion was voided because there was not a certificate of service attached to the

motion indicating who was to be served with a copy of the motion. The Bankruptcy Court clerk issued

a deficiency notice which was mailed to the Debtor at the mailing address provided on his Chapter 13

Petition. The Debtor never corrected this deficiency and never filed a Certificate indicating that he

received the required pre-petition budget and credit counseling.

       The Debtor filed his matrix on February 3, 2012. On February 13, 2012, this Court entered its

Order dismissing the Debtor’s case due to the Debtor’s failure to timely file the completion of his

Petition. On February 14, the Debtor filed a Motion for Extension of Time requesting an extension of

time to file the documents necessary to complete this case. The Bankruptcy Court Clerk’s office again

issued a deficiency notice to the Debtor on his Motion for Extension of Time because the case was

dismissed prior to the filing of the Motion.

       On February 28, 2012 the Debtor filed his Motion to Alter/Amend, which is the subject of this

Order. Since the filing of the Motion to Alter/Amend the Debtor filed the following documents in an

apparent attempt to correct the deficiencies in his pleadings, in chronological order: 1) Chapter 13 Plan

filed on February 29, 2012; 2) Chapter 13 Statement of Current Monthly and Disposable Income on

February 29, 2012; 3) Summary of Schedules on February 29, 2012; 4) Schedule C on March 21, 2012.

As noted above, the Debtor never filed a Verification of Pre-petition Budget and Credit Counseling.1


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          Since the hearing of this Motion to Alter/Amend, the Debtor has also filed a Petition for
 Writ of Habeas Corpus on March 16, 2012, as well as an Affidavit in Support of Motion to
 Alter/Amend on March 21, 2012. The Court has taken the Debtor’s Affidavit into account in

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        Rule 59(e) of the Federal Rules of Civil Procedure (made applicable to bankruptcy proceedings

pursuant to Rule 9023 of the Federal Rules of Bankruptcy Procedure) states that “A motion for a new

trial or to alter or amend a judgment shall be filed, and a court may on its own order a new trial, no later

than 14 days after entry of judgment.” Here, the Court’s order dismissing the Debtor’s case was entered

on February 13, 2012. The deadline for filing Debtor’s motion to alter or amend the Court’s judgment

was February 27, 2012. The Debtor’s motion was filed on February 28, 2012. As such, the Debtor’s

motion was untimely and should be denied. See In re Reyes, 2007 WL 337980 at * 1 (Bankr. E.D. Tenn.

2007), citing Taylor v. Freeland & Kronz, 112 S.Ct. 1644, 1648 (1992)(“Deadlines may lead to

unwelcome results, but they prompt parties to act and they produce finality.”).

        Even were the Court to find that the Debtor’s motion to alter or amend were timely, the Debtor’s

case remains deficient in that the Debtor has not filed a Verification of Pre-petition Budget and Credit

Counseling. “This requirement is imposed upon all individual debtors as an eligibility pre-requisite

before entering the bankruptcy system.” See Clippard v. Bass (In re Bass), 365 B.R. 131, 135 (W.D.

Tenn. 2007), citing In re Dixon, 338 B.R. 383, 389 (8th Cir. B.A.P. 2006) and In re Gee, 332 B.R. 602,

604 (Bankr. W.D. Mo. 2005). Dismissal is a proper remedy for non-compliance with such a

requirement. Id. at 138. The Court notes that the Debtor attempted to file a motion for determination

of disability, which was rejected by the Clerk’s office due to the fact that the Debtor did not include the

required certificate of service. The Debtor did not correct the deficiency and the motion is not properly

before the Court. However, even if the Debtor were to correct the deficiency, this Court would follow

the conclusions reached by the 6th Circuit Bankruptcy Appellate Panel and several other courts in

holding that incarceration does not amount to a “disability” which would make the Debtor eligible for

a permanent waiver of the credit counseling requirement pursuant to 11 U.S.C. § 109(h)(4). In re




  this Opinion and the Writ of Habeas Corpus is the subject of another Order and will not be
  considered here.

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Anderson, 397 B.R. 363, 366-367 (6th Cir. B.A.P. 2008)(citations omitted).

        The Court finds that the Debtor’s case remains incomplete and relief from the Order Dismissing

the Debtor’s case for failure to complete the filing requirements would be futile. As set forth above, the

Debtor is not eligible for permanent waiver of the credit counseling requirement. In no case would the

Debtor ever be allowed to extend the time to file such verification over forty-five days. 11 U.S.C. §

109(h)(3)(B). This deadline ran without the Debtor having filed such verification.

        For the foregoing reasons, the Debtor’s Motion to Alter/Amend and/or for Relief from Judgment

is hereby DENIED.

Cc:     Debtor
        Chapter 13 Trustee
        U.S. Trustee




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